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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )         CASE NO. CR02-439-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )         SUMMARY REPORT OF U.S.
11   YOLANDA EVETTE AVERY,                )         MAGISTRATE JUDGE AS TO
                                          )         ALLEGED VIOLATIONS
12         Defendant.                     )         OF SUPERVISED RELEASE
     ____________________________________ )
13

14         An evidentiary hearing on supervised release revocation in this case was scheduled

15 before me on August 3, 2012. The United States was represented by AUSA Andrew C.

16 Friedman and the defendant by Jay Stansell. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about November 4, 2005 by the Honorable Robert

18 S. Lasnik on a charge of Bank Fraud, and sentenced to 27 months custody (consecutive to

19 defendant’s sentence in CR04-0107 FDB), 5 years supervised release.

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant cooperate in the collection of DNA, be prohibited from possessing

22 a firearm, abstain from alcohol and other intoxicants, participate in drug testing, submit to


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01 search, participate in a mental health program, pay restitution in the amount of $133,700,

02 provide her probation officer with access to financial information upon request, be prohibited

03 from incurring new credit obligations or opening new lines of credit, and be prohibited from

04 possessing any identification documents in any but her true identity. (Dkt. 55.)

05          On November 1, 2011, defendant’s probation officer reported that she tested positive

06 for alcohol use. (Dkt. 80.) Defendant was reprimanded, and testing was increased. No

07 further action was taken at the time.

08          In an application dated (Dkt. 81, 82), U.S. Probation Officer Carol A. Chavez alleged

09 the following violations of the conditions of supervised release:

10          1.     Using alcohol on or about June 15, 2011 and September 21, 2011, and on or

11 about March 4, June 19, 22, and July 4, 2012, in violation of the special condition that she

12 abstain from the use of alcohol.

13          2.     Failing to report for drug urinalysis testing on: March 2, April 26, and July 9,

14 2012, in violation of the special condition that she participate in a program of drug testing.

15          3.     Failing to submit a valid drug test on May 14, 2012, in violation of the special

16 condition that she participate in a program of drug testing.

17          4.     Failing to answer truthfully all inquiries by the probation officer on or about

18 June 25, 2012, in violation of Standard Condition No. 3.

19          5.     Leaving the judicial district without the permission of her probation officer on or

20 about July 8, 2012, in violation of Standard Condition No. 1.

21          Defendant was advised in full as to those charges and as to her constitutional rights.

22          Defendant admitted the violations and waived any evidentiary hearing as to whether


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01 they occurred. (Dkt. 88.)

02         I therefore recommend the Court find defendant violated her supervised release as

03 alleged in violations, and that the Court conduct a hearing limited to the issue of disposition.

04 The next hearing will be set before Judge Lasnik.

05         Pending a final determination by the Court, defendant has been detained.

06         DATED this 3rd day of August, 2012.

07

08                                                      A
                                                        Mary Alice Theiler
09                                                      United States Magistrate Judge

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12 cc:     District Judge:               Honorable Robert S. Lasnik
           AUSA:                         Andrew C. Friedman
13         Defendant’s attorney:         Jay Stansell
           Probation officer:            Carol Chavez
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